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13                                    UNITED STATES DISTRICT COURT

14                                   NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION

16                                                     Case No. 07-5944 SC
   In re: CATHODE RAY TUBE (CRT)
17 ANTITRUST LITIGATION                                MDL No. 1917

18                                                     Individual Case No. C 13-1173 (SC)
19                                                     [PROPOSED] ORDER GRANTING
     This Document Relates to:                         SHARP’S ADMINISTRATIVE
20                                                     MOTION TO FILE UNDER SEAL
      SHARP ELECTRONICS CORP.,
21                                                     [re Samsung SDI documents]
                        Plaintiff,
22
          v.
23
      HITACHI, LTD., et al.,
24
                        Defendants.
25
26
27
28

     SMRH:409911273.1                                      [PROPOSED] ORDER GRANTING SHARP’S
                                                     ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1                      Plaintiff Sharp Electronics Corp. (“Sharp”) filed an Administrative Motion to File

 2 Under Seal pursuant to Civil Local Rule 79-5(d) (Dkt. No. 1834) (“Motion to Seal”) related to its
 3 Opposition to Thomson S.A.’s Motion to Dismiss for Lack of Personal Jurisdiction (“Opposition”)
 4 the supporting Declaration of Craig A. Benson (“Benson Declaration”), and the exhibits attached
 5 thereto, all of which were lodged conditionally under seal on August 7, 2013 pursuant to the
 6 Motion to Seal. Defendants Samsung SDI America, Inc., Samsung SDI Co., Ltd., Samsung SDI
 7 (Malaysia) Sdn. Bhd., Samsung SDI Mexico S.A. De C.V., Samsung SDI Brasil Ltda., Shenzen
 8 Samsung SDI Co., Ltd. and Tianjin Samsung SDI Co., Ltd. (collectively the “Samsung SDI
 9 Defendants”) filed the Declaration of Tyler M. Cunningham (“Cunningham Declaration”) in
10 support of Sharp’s Motion to Seal, requesting a narrowly tailored order to maintain certain
11 documents and document excerpts under seal.
12                      The documents at issue are: Benson Decl. Ex. B (SDCRT-0006632 to 33 and

13 SDCRT-0006632E to 33E); Id. Ex. C (Samsung SDI Defendants’ Supplemental Response to
14 Direct Purchaser Plaintiffs’ First Set of Interrogatories, Nos. 4 and 5); Id. Ex. L (SDCRT-0086490
15 to 92 and SDCRT-0086490E to 92E); Id. Ex. P (SDCRT-0002526 to 28 and SDCRT-0002526E to
16 28E); Id. Ex. Q (SDCRT-0002585 to 87 and SDCRT-0002585E to 87E); and the portions of the
17 Opposition that quote from or describe Exhibits B, C, L, P or Q.
18                      After due consideration of the papers submitted and the arguments of counsel, the

19 Court finds that the above materials, described in the Cunningham Declaration, contain proprietary
20 and sensitive business information, and a substantial probability exists that the Samsung SDI
21 Defendants would be competitively harmed if the materials were publicly disclosed. The Court
22 also finds that the Samsung SDI Defendants have narrowly tailored this sealing request to only
23 those exhibits and references thereto necessary to protect their proprietary and sensitive business
24 information. The Court thus finds compelling reasons to maintain under seal the materials
25 described in the Cunningham Declaration.
26                      IT IS THEREFORE ORDERED that the following documents and document

27 excerpts shall be maintained under seal:
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     SMRH:409911273.1                                            [PROPOSED] ORDER GRANTING SHARP’S
                                                           ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1                      a.    Benson Declaration Ex. B;

 2                      b.    Benson Declaration Ex. C;

 3                      c.    Benson Declaration Ex. L;

 4                      d.    Benson Declaration Ex. P;

 5                      e.    Benson Declaration Ex. Q;

 6                      f.    the portions of the Opposition that quote from or describe Exhibits B, C, L,

 7                            P or Q.

 8                      IT IS FURTHER ORDERED that, to maintain the effect of the seal under Civil

 9 Local Rule 79-5(f), the parties, their counsel, and their declarants shall not publicly disseminate or
10 discuss any of the sealed documents or their contents absent further order of the Court.
11
12 IT IS SO ORDERED.
13
14 Dated: ______________                            ____________________________________
15                                                         HONORABLE SAMUEL CONTI
                                                          UNITED STATES DISTRICT JUDGE
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     SMRH:409911273.1                                           [PROPOSED] ORDER GRANTING SHARP’S
                                                          ADMINISTRATIVE MOTION TO FILE UNDER SEAL
